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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                             Crim. No. 17-201 (ABJ)
 PAUL J. MANAFORT, JR. and
 RICHARD W. GATES III,

                Defendants.


              GOVERNMENT’S MOTION FOR PERMISSION TO OBTAIN
              SEALED PORTIONS OF FEBRUARY 14, 2018, TRANSCRIPT

       The United States of America, by and through Special Counsel Robert S. Mueller III,

respectfully moves for permission to obtain a copy of the February 14, 2018, status hearing

transcript, including all sealed portions, with the exception of portions of the transcript of the

hearing related to the Motion to Withdraw as Counsel for Defendant Gates to which government

counsel was not a party. The United States does not seek to unseal the transcript to the public.

                                                       Respectfully submitted,

                                                       ROBERT S. MUELLER III
                                                       Special Counsel

Dated: February 20, 2018                       By:     __/s/__Kyle R. Freeny___
                                                       Kyle R. Freeny
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